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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT COURT OF KANSAS

 FORD COUNTY, KANSAS, individually
 and on behalf of all others similarly situated,

           Plaintiffs,

 vs.                                                       Case No. 2:24-cv-2547

 EXXON MOBIL CORPORATION, CHEVRON     JURY TRIAL DEMANDED
 USA INC., CHEVRON PHILLIPS CHEMICAL
 CORPORATION, DUPONT de NEMOURS INC.,
 CELANESE CORPORATION, DOW INC.,
 DOW CHEMICAL COMPANY, DUPONT
 CORPORATION, EASTMAN CHEMICAL
 COMPANY, LYONDELLBASELL INDUSTRIES,
 and AMERICAN CHEMISTRY COUNCIL

            Defendants.


                         NOTICE OF DESIGNATION OF PLACE OF TRIAL

          Please take notice that pursuant to Local Rule 40.2(a), on behalf of Plaintiffs, Rex A.

Sharp, Dave Rebein, and Glenn I. Kerbs, hereby designate Kansas City, Kansas as the place of

trial.

Date: November 27, 2024.                                Respectfully submitted,

                                                        /s/ Rex A. Sharp
                                                        Rex A. Sharp, KS #12350
                                                        Isaac L. Diel, KS #14376
                                                        W. Greg Wright, KS #18352
                                                        Hammons P. Hepner, KS #29138
                                                        Brandon C. Landt , KS #28867
                                                        SHARP LAW, LLP
                                                        4820 W. 75th Street
                                                        Prairie Village, KS 66208
                                                        (913) 901-0505
                                                        (913) 261-7564 Fax
                                                        rsharp@midwest-law.com
                                                        idiel@midwest-law.com
                                                        gwright@midwest-law.com
                                                        hhepner@midwest-law.com
                                                        blandt@midwest-law.com
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                                    --and--

                                    Dave Rebein, KS #10476
                                    REBEIN BROTHERS, PA
                                    1715 Central Ave.
                                    Dodge City, KS 67801
                                    Tel: (620) 227-08126

                                    --and--

                                    Glenn I. Kerbs, KS #09754
                                    Samantha F. Sweley, KS #26833
                                    KERBS LAW OFFICE, LLC
                                    1715 Central Ave.
                                    Dodge City, KS 67801
                                    Tel: (620) 255-0238
                                    gkerbs@kerbslaw.com
                                    ssweley@kerbslaw.com

                                    Attorneys for Plaintiff
                                    and the Proposed Class




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